        Case 3:22-cv-00211-SDD-SDJ                Document 356     02/16/24 Page 1 of 3



                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA

  PRESS ROBINSON, et al.,
                                                      Civil Action No. 3:22-cv-00211-SDD-SDJ
          Plaintiffs,

  v.                                                  Chief Judge Shelly D. Dick

  NANCY LANDRY, in her official capacity
  as Secretary of State of Louisiana,                 Magistrate Judge Scott D. Johnson

          Defendant.

  EDWARD GALMON, SR., et al.,

          Plaintiffs,                                 Consolidated with
                                                      Civil Action No. 3:22-cv-00214-SDD-SDJ
  v.

  NANCY LANDRY, in her official capacity
  as Secretary of State of Louisiana,

           Defendant.


           EX PARTE MOTION FOR LEAVE TO PARTICIPATE REMOTELY


        Pursuant to this Court’s Order at ECF No. 349, counsel for Legislative Intervenors

respectfully request leave to participate by videoconference or telephone in the February 21, 2024,

scheduling conference in this action. See ECF No. 349 (Feb. 7, 2024) (ordering that “requests to

appear by videoconference shall be filed by Motion no later than 48 hours before the conference.”)

Legislative Intervenors’ counsel seeks leave to participate by telephone given their schedules

which were set prior to the February 7, 2024, Order. Legislative Intervenors respectfully submit

that their counsel’s participation by videoconference or telephone will not delay the proceedings

or inhibit their full participation in this matter.
        Case 3:22-cv-00211-SDD-SDJ           Document 356       02/16/24 Page 2 of 3




       WHEREFORE, for the foregoing reasons, counsel for Legislative Intervenors respectfully

seek leave to participate by videoconference or telephone at the scheduling conference set for

February 21, 2024, at 3:00 p.m. CT.

Respectfully submitted, this the 16th day of February, 2024.

                                             Respectfully submitted,

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                                             Counsel for Legislative Intervenors,
                                             Phillip DeVillier, in his Official Capacity
                                             as Speaker of the Louisiana House of
                                             Representatives, and of Cameron Henry,
                                             in his Official Capacity as President of
                                             the Louisiana Senate




                                               2
        Case 3:22-cv-00211-SDD-SDJ           Document 356       02/16/24 Page 3 of 3




                               CERTIFICATE OF SERVICE

        I do hereby certify that on February 16, 2024, a copy of the foregoing pleading was filed
electronically with the Clerk of Court using the CM/ECF System, which will transmit a copy to
all counsel of record.

                                                   /s/ Michael W. Mengis
                                                     Michael W. Mengis




                                               3
